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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION-DETROIT

J & J SPORTS PRODUCTIONS, INC.,
                Plaintiff,
                                                  No. 2:14-cv-12239-VAR-MJH
v.                                                Hon. Victoria Roberts
                                                  Hon. Michael Hluchaniuk (referral)
ANTHONY MCCREE AND LUKE
BARNES, Individually, jointly and
severally,
                 Defendants.


           NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
          ANTHONY R. MCCREE, JR. DUE TO BANKRUPTCY FILING


       PLEASE TAKE NOTICE that undersigned counsel for Plaintiff gives notice of its

voluntary dismissal of defendant ANTHONY MCCREE, JR., due to filing a Chapter 7

bankruptcy case, case no. 15-48418-wsd in the United States Bankruptcy Court for the

Eastern District of Michigan on 05/29/2015. Plaintiff reserves its right to re-add the

defendant if the facts and circumstances in this case allow. TAKE FURTHER NOTICE

that the Plaintiff intended to proceed against the remaining defendant(s).

                                                  RESPECTFULLY SUBMITTED


Date: June 8, 2015                                /s/ Clinton J. Hubbell
                                                  HUBBELL DUVALL PLLC
                                                  25140 Lahser Rd Ste 271
                                                  Southfield, MI 48033
                                                  (248) 595-8617 phone
                                                  bk@hubbellduvall.com
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION-DETROIT

J & J SPORTS PRODUCTIONS, INC.,
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                                              No. 2:14-cv-12239-VAR-MJH
v.                                            Hon. Victoria Roberts
                                              Hon. Michael Hluchaniuk (referral)
ANTHONY MCCREE AND LUKE
BARNES, Individually, jointly and
severally,
                 Defendants.

                           CERTIFICATE OF SERVICE

On June 8, 2015, the undersigned hereby certifies that the attached Notice of Voluntary
Dismissal of Defendant ANTHONY MCCREE, JR., was sent to the parties listed below
via First Class US Mail, postage thereon fully prepaid from Southfield, Michigan.


                                              RESPECTFULLY SUBMITTED


Date: June 8, 2015                            /s/ Clinton J. Hubbell
                                              HUBBELL DUVALL PLLC
                                              25140 Lahser Rd Ste 271
                                              Southfield, MI 48033
                                              (248) 595-8617 phone
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Ethan D. Dunn
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